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                            UNITED STATES DISTRICT COURT
                                                       for the
                                   EASTERN DISTRICT OF OKLAHOMA

      UNITED STATES OF AMERICA,                           )
                                                          )      Case No.: CR-22-129-RAW
                                       Plaintiff,         )
                             v.                           )      Date:     09/11/2023
                                                          )
      ALEJANDRO MARIN-GUTIERREZ,                          )      Time:     10:29 a.m. – 11:04 a.m.
                                                          )
                                       Defendant.         )

                                              MINUTE SHEET
                                          CHANGE OF PLEA HEARING

U.S. Magistrate Judge Gerald L. Jackson       P. Bruce, Deputy Clerk     FTR Courtroom: 4 - Room 420

Counsel for Plaintiff: Benjamin Traster, AUSA
Counsel for Defendant: Wesley J. Cherry, Appointed

Defendant appears in person: ☒ with Counsel; ☐ Counsel waived; ☐ w/o Counsel;
☐ Defendant advised of right to appear in person ☐ Defendant consents to proceed via video conference
Defendant: ☒ Sworn
☒ Interpreter: Linda Reyes        ☒ Sworn

☒ Consent to Proceed before U. S. Magistrate Judge executed by defendant and filed
☒ Defendant advised of charges and possible penalties
☐ Guideline estimates discussed
☐ Petition to Enter Plea of Guilty and Order Entering Plea

☒ Defendant entered guilty plea to Count 1 of the Indictment
☐ Plea Agreement: ☐ terms orally disclosed          ☐ written plea agreement filed ☒ no written plea agreement
      ☐ Motion for Additional One Point Reduction for Acceptance of Responsibility filed by Government
      ☐ Remaining Count(s) to be dismissed at sentencing: Count(s) ___

Defendant waived: ☐ Indictment; ☒ Jury Trial; ☐ Speedy Trial; ☐ 30 Days Preparation;
☐Separate Representation; ☒ Waiver(s) accepted by Court

☒ Defendant waived right to having jury determine facts used to enhance Defendant’s sentence and consents to the
  sentencing judge to determine those facts

☒ Defendant related facts of charge;     ☒ Government agreed Defendant’s statements meet elements of offense

☒ Court findings:      ☒ Defendant found mentally competent to understand charges and proceedings
                       ☒ Factual basis for Defendant’s plea;
                       ☒ Defendant is guilty as charged as to Count 1 of the Indictment

☒ PSI Ordered
☒ Government requested U.S. Magistrate issue Report and Recommendation to District Court with regard to
  finding of guilt. DENIED (GLJ)
☒ Defendant remanded to custody of USMS.
